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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


 JEFFERY CORDTZ,

          Plaintiff,
                                                 CIVIL ACTION FILE NO.
 v.                                              1:21-cv-02003-MHC-LTW

 JOHNSON LEGAL OFFICES, LLC;
 FCI LENDER SERVICES, INC.;
 LARRY W. JOHNSON;

          Defendants.

        ORDER FOR SERVICE OF REPORT AND RECOMMENDATION

         The Report and Recommendation of the undersigned United States Magistrate

Judge made in accordance with 28 U.S.C. § 636(b)(1), Fed. R. Civ. P. 72(b),

N.D. Ga. Civ. R. 72.1(B), (D), and Standing Order 18-01 (N.D. Ga. Feb. 12, 2018), has

been filed. The Clerk is DIRECTED to serve upon counsel for the parties and directly

upon any unrepresented parties a copy of the Report and Recommendation and a copy

of this Order.

         Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections, if any,

to the Report and Recommendation within FOURTEEN (14) DAYS of service of this

Order. Should objections be filed, they shall specify with particularity the alleged

error(s) made (including reference by page number to any transcripts if applicable) and
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shall be served upon the opposing party. The party filing objections will be responsible

for obtaining and filing the transcript of any evidentiary hearing for review by the

District Court. If no objections are filed, the Report and Recommendation may be

adopted as the opinion and order of the District Court, and on appeal, the Court

of Appeals will deem waived any challenge to factual and legal findings to which

there was no objection, subject to interests-of-justice plain error review. Harrigan v.

Metro Dade Police Dep’t Station #4, 977 F.3d 1185, 1191-92 (11th Cir. 2020); 11th

Cir. R. 3-1 (“A party failing to object to a magistrate judge’s findings or

recommendations . . . waives the right to challenge on appeal the district court’s order

based on unobjected-to factual and legal conclusions if the party was informed of the

time period for objecting and the consequences on appeal for failing to object.”).

      The Clerk is directed to submit the Report and Recommendation with objections,

if any, to the District Court after expiration of the above time period.

      SO ORDERED, this ______
                         22 day of November, 2021.



                                 ___________________________________
                                 LINDA T. WALKER
                                 UNITED STATES MAGISTRATE JUDGE




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